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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


STEPHEN MOYER and KEVIN MOYER,

                      Plaintiffs,

              -against-                                Case No. 7:17-cv-06911-NSR

SUMMIT RECEIVABLES, a Nevada corporation,
and ANTHONY GUADAGNA, individually,

                      Defendants.


                          NOTICE OF VOLUNTARY DISMISSAL

       Plaintiffs, STEVEN AND KEVIN MOYER, (“Plaintiffs”), through their attorney, Agruss

Law Firm, LLC, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), voluntarily dismisses

this case, with prejudice, against Defendant, SUMMIT RECEIVABLES, and ANTHONY

GUADAGNA, individually.

                                    Respectfully submitted,
                                    AGRUSS LAW FIRM, LLC


DATED: December 17, 2018            By:_/s/ Michael S. Agruss_______________
                                    Michael S. Agruss
                                    Agruss Law Firm, LLC
                                    4809 N. Ravenswood Ave, Suite 419
                                    Chicago, IL 60640
                                    Tel: 312-224-4695
                                    E-mail: michael@agrusslawfirm.com
                                    Attorney for Plaintiffs
                                    Admitted Pro Hac Vice
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                               CERTIFICATE OF SERVICE

       On December 17, 2018, I electronically filed the Notice of Voluntary Dismissal with the
Clerk of the U.S. District Court, using the CM/ECF system. I e-mailed a copy of the filed Notice
of Voluntary Dismissal to Defense Counsel, Cami Perkins, at

                             By:_/s/ Michael S. Agruss_______________
                                    Michael S. Agruss
